      Case 3:18-cv-01350-FAB Document 16 Filed 10/22/18 Page 1 of 7



                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF PUERTO RICO


SCOTIABANK DE PUERTO RICO,

     Plaintiff,

                  v.                             Civil No. 18-1350 (FAB)

ERIC SANTIAGO HALAIS-BORGES,

     Defendant.



                           MEMORANDUM AND ORDER


BESOSA, District Judge.

     Plaintiff Scotiabank de Puerto Rico (“Scotiabank”) requests

that the Court remand this action to the Puerto Rico Court of First

Instance, San Juan Superior Division.              (Docket No. 12.)     For the

reasons set forth below, the Court GRANTS Scotiabank’s motion to

remand.

I.   Background

     On   May    7,    2018,    defendant    Eric    Santiago    Halais-Borges

(“Halais”) submitted a notice of removal, invoking the Court’s

federal question jurisdiction pursuant to 28 U.S.C. section 1331.

(Docket   No.    1.)      The    notice     of    removal   states     that   the

“Commonwealth     Court    Action     concerns       a   suit    for    mortgage

foreclosure     and    collection   of    monies     owed   by   Defendant    to

Plaintiff.”      Id. at p. 1 (citing Scotiabank v. Eric Santiago

Halais-Borges, Civil Case No. K CD 2012-1782).              Halais sets forth
         Case 3:18-cv-01350-FAB Document 16 Filed 10/22/18 Page 2 of 7



Civil No. 18-1350 (FAB)                                                            2

a    myriad    of     affirmative   defenses       pursuant    to   eight   federal

statutes. 1        Scotiabank moves for remand to the Court of First

Instance.       (Docket No. 12.)

II.     Applicable Law

       Removal of an action to federal court is governed by 28 U.S.C.

section       1441    (“section   1441”).         Section    1441   provides    that

defendants may remove to the appropriate federal district court

“any civil action brought in a State court of which the district

courts of the United States have original jurisdiction.” 28 U.S.C.

§ 1441(a).         “The propriety of removal thus depends on whether the

case originally could have been filed in federal court.”                    City of

Chicago v. Int’l Coll. of Surgeons, 522 U.S. 156, 163 (1997); see

also Long v. Bando Mfg. of Am., Inc., 201 F.3d 754, 757 (6th Cir.

2000)       (“In     order   to   invoke    the     district      court’s   removal

jurisdiction, a defendant must show that the district court has

original jurisdiction over the action.”).                   Original jurisdiction

in    the    district    court    exists   where    a   federal     question   claim

“arising under the Constitution, laws, or treaties of the United



1 Halais alleges that Scotiabank violated the: (1) Truth in Lending Act, 15
U.S.C. sections 1601 et seq., (2) the Real Estate Settlement Procedures Act, 12
U.S.C. sections 2600 et seq., (3) the Home Mortgage Disclosure Act, 12 U.S.C.
sections 2801 et seq., (4) the Home Ownership and Equity Protection Act, 15
U.S.C. section 1639, (5) the Equal Credit Opportunity Act, 15 U.S.C. sections
1691 et seq., (6) the Fair and Accurate Credit Transactions Act, 15 U.S.C.
section 1681 et seq., (7) the Homeowner’s Protection Act, 12 U.S.C. sections
4901-4910, and (8) the Fair Debt Collection Practices Act, 15 U.S.C. sections
1692 et seq. (Docket No. 1 at pp. 1—2.)
        Case 3:18-cv-01350-FAB Document 16 Filed 10/22/18 Page 3 of 7



Civil No. 18-1350 (FAB)                                                                    3

States” is raised in the plaintiff=s complaint pursuant to 28 U.S.C.

section 1331, or where there is complete diversity of citizenship

among the parties pursuant to 28 U.S.C. section 1332.                           See Exxon

Mobil Corp. v. Allapattah Servs., Inc., 545 U.S. 546, 552 (2005).

       As the party seeking removal, Halais shoulders the burden of

demonstrating that removal is appropriate. See Fayard v. Northeast

Vehicle Servs., LLC, 533 F.3d 42, 48 (1st Cir. 2008).                             Section

1441   is     “strictly      construed”    against       removal,        and    any    doubt

regarding the propriety of removal should be resolved in favor of

remand.       Syngenta Crop Prot., Inc. v. Henson, 537 U.S. 28, 32

(2002); Rosselló-González v. Calderón-Serra, 398 F.3d 1, 11 (1st

Cir. 2004) (remanding action because “[r]ead as a whole, we cannot

say    that    this    complaint    presents       a    claim      under   the    Federal

Constitution.           No    explicit    reference          to    the   United       States

Constitution      or    any    other     federal       law    is    contained     in    the

complaint; instead, all references are to Puerto Rico state laws,

regulations, and the Commonwealth Constitution”).                        “If at any time

before final judgment it appears that the district court lacks

subject matter jurisdiction [over a removed case], the case shall

be remanded.”         28 U.S.C. § 1447(c).

       Because        “[f]ederal       courts      are        courts       of     limited

jurisdiction,” the Court must “begin by ensuring that [it has]

jurisdiction to reach the questions presented.”                          Hochendoner v.
         Case 3:18-cv-01350-FAB Document 16 Filed 10/22/18 Page 4 of 7



Civil No. 18-1350 (FAB)                                                           4

Genzyme Corp., 823 F.3d 724, 730 (1st Cir. 2016); see McCulloch v.

Velez, 364 F.3d 1, 5 (1st Cir. 2004) (“It is black-letter law that

a federal court has an obligation to inquire sua sponte into its

own subject matter jurisdiction.”).              In general, “[t]he presence

or absence of federal-question jurisdiction is governed by the

‘well-pleaded         complaint    rule,’     which   provides     that     federal

jurisdiction exists only when a federal question is presented on

the     face     of    the   plaintiff=s      properly   pleaded        complaint.”

Caterpillar, Inc. v. Williams, 482 U.S. 386, 392 (1987); see BIW

Deceived v. Local S6, Indus. Union of Marine & Shipbuilding Workers

of Am., IAMAW Dist. Lodge 4, 132 F.3d 824, 831 (1st Cir. 1997)

(“The    gates    of    federal    question    jurisdiction   are       customarily

patrolled by a steely-eyed sentry - the ‘well-pleaded complaint

rule’ - which, in general, prohibits the exercise of federal

question jurisdiction if no federal claim appears within the four

corners of the complaint.”).            Scotiabank is the “master” of its

complaint      and     may   “avoid   federal    jurisdiction      by     exclusive

reliance on state law.”           Caterpillar, Inc., 482 U.S. at 392.

III. Discussion

      Remand and dismissal are warranted because the Court lacks

federal jurisdiction.             Halais failed to attach the underlying

complaint to the notice of removal.             (Docket No. 1.)      Pursuant to

28 U.S.C. section 1446:
        Case 3:18-cv-01350-FAB Document 16 Filed 10/22/18 Page 5 of 7



Civil No. 18-1350 (FAB)                                                      5

     A defendant or defendants desiring to remove any civil
     action from a State Court shall file . . . . a notice of
     removal signed pursuant to Rule 11 of the Federal Rules
     of Civil Procedure and containing a short and plain
     statement of the grounds for removal, together with a
     copy of all process, pleadings, and orders served upon
     such defendant or defendants in such action.

28 U.S.C. § 1446(a) (emphasis added).          Although Halais omitted the

complaint, he concedes that Scotiabank set forth only two causes

of action: mortgage foreclosure and collection of monies.            (Docket

No. 1 at p. 1.)      Both claims arise pursuant to Puerto Rico law.

See P.R. Laws Ann. tit 31, § 5171 (“A debtor is liable for the

fulfillment of his obligations with all his present and future

property.”); Scotiabank de Puerto Rico v. Residential Partners

S.E., 350 F. Supp. 2d 334, 337 (D.P.R. 2004) (Pieras, J.) (denying

motion to remove action based on collection of monies and mortgage

foreclosure pursuant to Puerto Rico law because an affirmative

defense arising from the federal Bank Holding Company act was

“insufficient to confer federal jurisdiction”).              The absence of

any federal claim on the face of the complaint is fatal to Halais’

attempt to remove this case to federal court.

     The   federal    statutes   that    Halais    raises    in   defense   of

Scotiabank’s Puerto Rico law claims are insufficient to confer

jurisdiction on this Court.          In actions premised exclusively on

state   law,   litigants    cannot    invoke    federal     jurisdiction    by

asserting defenses pursuant to federal law.            Rosselló-González,
        Case 3:18-cv-01350-FAB Document 16 Filed 10/22/18 Page 6 of 7



Civil No. 18-1350 (FAB)                                                      6

398 F.3d at 10 (“The existence of a federal defense is not

sufficient for removal jurisdiction.”) (citing Franchise Tax. Bd.

v. Constr. Laborers Vacation Trust, 463 U.S. 1, 10 (1983) (“[A]

federal court does not have original jurisdiction over a case in

which the complaint presents a state-law cause of action, but also

asserts . . . a federal defense the defendant may raise is not

sufficient to defeat the claim.”)); Ten Taxpayer Grp. v. Cape Wind

Assoc., 373 F.3d 183, 191 (1st Cir. 2004) (“It is hornbook law

that    a   federal     defense    does    not   confer     ‘arising    under’

jurisdiction, regardless whether that defense is anticipated in

the plaintiff’s complaint.”).

       Because Halais failed to establish the existence of federal

jurisdiction, the Court GRANTS Scotiabank’s motion for remand. 2

IV.    Conclusion

       For the reasons set forth above, Scotiabank’s motion for

remand is GRANTED.      This action is DISMISSED WITHOUT PREJUDICE for



2 Scotiabank argued that Halais filed the notice of appeal “six years after the
complaint was filed.” (Docket No. 12 at p. 2.) Pursuant to 28 U.S.C. section
1446:

       The notice of removal shall be filed within 30 days after the
       receipt by the defendant, through service or otherwise, of a copy
       of the original pleading setting forth the claim for relief upon
       which such action or proceeding is based, or within 30 days after
       the service of summons upon the defendant if such initial pleading
       has the been filed in court and is not required to be served on the
       defendant, whichever period is shorter.

28 U.S.C. § 1446(b). The Court need not address whether Halais filed a timely
notice of removal, because this case is remanded on jurisdictional grounds.
      Case 3:18-cv-01350-FAB Document 16 Filed 10/22/18 Page 7 of 7



Civil No. 18-1350 (FAB)                                               7

lack of federal jurisdiction, and is REMANDED to the Puerto Rico

Court of First Instance, San Juan Superior Division, case number

K CD 2012-1782.

     IT IS SO ORDERED.

     San Juan, Puerto Rico, October 22, 2018.


                                       s/ Francisco A. Besosa
                                       FRANCISCO A. BESOSA
                                       UNITED STATES DISTRICT JUDGE
